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                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

CHELSEA L. DAVIS,                              §
                                               §
       Plaintiff,                              §
                                               §
v.                                             §           Civil Action No. 3:14-CV-3975-N
                                               §
MCKOOL SMITH PC, et al.,                       §
                                               §
       Defendants.                             §

                                           ORDER

       This Order is not to be filed under seal. This Order imposes sanctions on Plaintiff

Chelsea L. Davis.1 On January 21, 2015, this Court ordered that Davis show cause why an

order should not be entered barring her from filing additional cases in this district and from

further filings in her closed actions related to her underlying claims in this action without

leave of Court. See Order, Jan. 21, 2015 (“Show Cause Order”) [39]. The Clerk of Court




       1
         The Court acknowledges that Davis has named the undersigned as a defendant in two
cases. See Davis v. Southern Methodist University, et al., Civil Action No. 3:15-CV-488-P-
BF (N.D. Tex. filed Feb. 11 2015); Davis v. Southern Methodist University, et al., Civil
Action No. 3:15-CV-531-K-BK (N.D. Tex. filed Feb. 11 2015). As the Fifth Circuit has
noted, “Judges are not required to recuse just because they have been or are involved in
litigation with a party. Otherwise, parties could control which judges hear their case by filing
lawsuits against all judges of whom they disapproved.” Ocean Oil Expert Witness, Inc. v.
O’Dwyer, 451 F. App’x 324, 329 (5th Cir. 2011) (footnote omitted); see also Hassell v.
United States, 2004 WL 2331599, at *2 (N.D. Tex. 2004) (holding “unfounded, frivolous,
and scurrilous allegations of a judge’s crimes against [a party] are insufficient to establish
grounds for recusal”). Accordingly, the undersigned may continue to preside over this
action.


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entered the Show Cause Order on the docket on January 22, 2015, and Davis’s response was

due by February 12, 2015.

       As described in the Show Cause Order, this action is one in a long line of cases Davis

has filed targeting McKool Smith PC and certain individuals for tortious conduct she alleges

occurred during and after her time as an employee at McKool Smith. The following is a

nonexhaustive list of the various cases she has brought in this District.

       1.     Davis v. McKool Smith, et al., No. 3:13-CV-4926-N (N.D. Tex. removed Dec.

              18, 2013) (sua sponte remanded for lack of jurisdiction);

       2.     Davis v. Ackman, et al., No. 3:13-CV-4973-N (N.D. Tex. filed Dec. 20, 2013)

              (dismissed for failure to state a claim);

       3.     Davis v. McKool Smith, et al., No. 3:14-CV-0056-N (N.D. Tex. filed Jan. 8,

              2014) (dismissed with prejudice under res judicata), appeal filed, No. 14-

              11179 (5th Cir. Oct. 28, 2014);

       4.     Ware v. Davis, No. 3:14-CV-1963-N (N.D. Tex. removed May 30, 2014) (sua

              sponte remanded for lack of jurisdiction);

       5.     Crow v. Davis, No. 3:14-CV-1964-N (N.D. Tex. removed May 30, 2014) (sua

              sponte remanded for lack of jurisdiction);

       6.     Davis v. McKool Smith, et al., No. 3:14-CV-3962-N (N.D. Tex. filed Nov. 7,

              2014) (sua sponte dismissed for res judicata), appeal filed, No. 15-10019 (5th

              Cir. Jan. 8, 2015);




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       7.     Davis v. Ware, No. 3:14-XC-3963-K (N.D. Tex. filed Nov. 8, 2014)

              (dismissed for abandonment)2;

       8.     Davis v. McKool Smith, et al., No. 3:14-CV-3975-N (N.D. Tex. filed Nov. 10,

              2014) (remains pending), appeal filed, No. 14-11286 (5th Cir. Dec. 4, 2014),

              second appeal filed, No. 14-11292 (5th Cir. Dec. 4, 2014), third appeal filed,

              No. 15-10069 (5th Cir. Jan. 27, 2015);

       9.     Davis v. McKool Smith, et al., No. 3:14-CV-4190-N (N.D. Tex. filed Nov. 24,

              2014) (dismissed with prejudice), Emergency Motion for Mandamus Filed,

              No. 15-10040 (5th Cir. Jan. 15, 2015).

Davis has also attempted to litigate these claims in the Eastern District of Texas3 and in

Texas State court.4

       Davis’s actions against McKool Smith and related individuals typically allege claims

ranging from the Fair Labor Standards Act to human trafficking. On December 27, 2013,

Judge Tobolowsky of the 298th Judicial District Court for Dallas County, Texas, entered an

order dismissing employment-related claims against McKool Smith and others with



       2
        The Court notes there is also pending a Civil Action No. 3:14-CV-3963-K.
       3
        See Davis v. GECESC Associates LLC, Civil Action No. 2:14-CV-1065-JRG (E.D.
Tex. filed Nov. 21, 2014) (dismissed with prejudice under res judicata), appeal filed, No.
15-40091(5th Cir. Jan. 27, 2015); Davis v. McKool Smith P.C., Civil Action No. 4:14-CV-
0754-ALM (E.D. Tex. filed Nov. 19, 2014) (remains pending).
       4
       See, e.g., Davis v. McKool Smith P.C., No. DC-13-14215 (160th Dist. Ct., Dallas
County, Tex. Dec. 2, 2013); Davis v. Baxter, No. 199-03395-2013 (199th Dist. Ct., Collin
County, Tex. Aug. 27, 2013).


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prejudice. See Appendix in Supp. Mot. Dismiss 0004–0006 [8-1], in Davis v. McKool Smith,

Civil Action No. 3:14-CV-0056-N (N.D. Tex. filed Jan. 8, 2014). Subsequently, in Civil

Action No. 3:14-CV-0056-N, this Court dismissed a set of substantially similar claims

against McKool Smith with prejudice for res judicata. See Sept. 30, 2014 Order [14], in

Davis v. McKool Smith, Civil Action No. 3:14-CV-0056-N (N.D. Tex. filed Jan. 8, 2014).

Davis continues to file actions before this court, such as this one, asserting the same set of

claims against McKool Smith and related individuals, stemming from her previous

employment with McKool Smith.

       Davis has also made a number of dilatory filings in an apparent effort to impede

litigation and frustrate the resolution of her various cases. Following the issuance of U.S.

Magistrate Judge Toliver’s Findings, Conclusions, and Recommendation [11], which

recommended sua sponte dismissal of this case for res judicata, Davis purported to remove

two state court actions into this already pending case. See Notice of Removal Pursuant to

28 U.S.C. Sec. 1442(a) [21]. The same day, Davis filed a notice of interlocutory appeal,

which sought review by the Fifth Circuit of a series of orders, including a number of state

court orders. See Amended Notice of Interlocutory Appeal [24]. Though the intent behind

these filings is admittedly unclear, they were entirely without legal merit5 and served no


       5
        Federal courts of appeal, like federal district courts, are courts of limited jurisdiction
and may only hear cases as provided for by the Constitution or by Congress. See United
States v. Garner, 749 F.2d 281, 284 (5th Cir. 1985). Subject to limited exception, courts of
appeals may only review final judgments of the district courts. See 28 U.S.C. § 1291. All
federal courts lack jurisdiction to directly review state court decisions. Atl. Coast Line R. Co.
v. Bhd. of Locomotive Eng’rs, 398 U.S. 281, 296 (1970). When Davis filed her notice of



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purpose other than to delay the resolution of the case.6 Davis also continues to file various

objections, motions, and other documents into closed cases that are irrelevant to any

postjudgment relief she as a litigant may seek.7

       Davis has been warned that her continued filing of duplicative cases and frivolous

motions could result in sanctions. See Findings, Conclusions, and Recommendation 3 [14],

in Davis v. McKool Smith PC, Civil Action No. 3:14-CV-3962-N (N.D. Tex. filed Nov. 7,

2014) (“Plaintiff is forewarned that if she continues to file frivolous pleadings, she risks

harsh sanctions up to and including sanctions under Rule 11 of the Federal Rules of Civil



appeal, no final judgment had been entered in the case, and Davis sought to appeal state court
orders.
       6
        Despite Davis’s appeals, the Court retains jurisdiction of the case to enter this order.
See United States v. Green, 882 F.2d 999, 1001 (5th Cir. 1989) (holding notice of appeal
from a nonappealable order does not divest the district court of jurisdiction); United States
v. Hitchmon, 602 F.2d 689, 693 (5th Cir. 1979) (noting the contrary rule “leaves the court
powerless to prevent intentional dilatory tactics, forecloses without remedy the nonappealing
party’s right to continuing trial court jurisdiction, and inhibits the smooth and efficient
functioning of the judicial process), superseded on other grounds as recognized in United
States v. Martinez, 763 F.2d 1297, 1308 n.11 (11th Cir. 1985). Davis’s amended notice of
interlocutory appeal in this action exclusively purports to appeal either state court orders or
orders that were not issued in this action. See Am. Notice of Interlocutory Appeal [24] 2–3.
In the notice of interlocutory appeal filed on January 27, 2015, Davis again purports to
appeal orders that were not issued in this action. See Notice of Interlocutory Appeal [44].

       7
        See, e.g., Davis’s Notice of Rule 26 Initial Disclosures [33], in Davis v. McKool
Smith PC, Civil Action No. 3:14-CV-3962-N (N.D. Tex. filed Nov. 7, 2014) (attempting to
make pretrial disclosures in an action that had been dismissed with prejudice); Notice to Take
Deposition [33], in Davis v. McKool Smith, Civil Action No. 3:14-CV-0056-N (N.D. Tex
filed Jan. 8, 2014) (noticing intent to take depositions in action that had been dismissed with
prejudice).




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Procedure and being barred from filing future cases and notices of removal in the Northern

District of Texas.”); Order and Memorandum Opinion 4 [20], in Davis v. GECESC

Associates LLC, Civil Action No. 2:14-CV-1065-JRG (E.D. Tex. filed Nov. 21, 2014)

(“Davis is forewarned—as she was in other federal courts in Texas—that if she continues to

file frivolous pleadings in this District, she risks imposition of harsh sanctions up to and

including sanctions under Rule 11 of the Federal Rules of Civil Procedure and being barred

from filing future cases and notices of removal in the Eastern District of Texas.”). Yet Davis

continues to bring claims based on the same set of underlying facts. Accordingly, the Court

entered its Show Cause Order on January 21, 2015.

       Davis failed to respond to the Show Cause Order in this case.8 Rather, on the eve of

her response deadline, she initiated no less than seven new cases in the Northern District of

Texas.9 For the most part, these cases stem from her employment with McKool Smith and

       8
        While Davis did not respond in this case, she filed an Objection to Show Cause Order
and Verified Denial in another of her many cases, Davis v. McKool Smith, et al., No. 3:14-
CV-4190-N (N.D. Tex. filed Nov. 24, 2014) [34-2]. In this document, Davis appears to
object to the Court’s authority to enter an order, and maintains that she needs to be given an
opportunity to respond. This Court unquestionably has authority to sanction Davis for her
conduct. See FED. R. CIV. P. 11. Furthermore, the Court gave her twenty-one days to
respond to the Show Cause Order, thereby complying with due process requirements. See
Spiller v. Ella Smithers Geriatric Ctr., 919 F.2d 339, 347 (5th Cir. 1990). In the remainder
of her objection, Davis purports to deny every statement contained in the Show Cause Order,
including incontestable facts and statements of law. These meritless denials do not provide
a meaningful reason to refrain from sanctioning Davis.
       9
        Davis v. McKool Smith PC, Civil Action No. 3:15-CV-437-G-BH (N.D. Tex. filed
Feb. 9 2015); Davis v. Southern Methodist University, et al., Civil Action No. 3:15-CV-488-
P-BF (N.D. Tex. filed Feb. 11 2015); Davis v. Crow, Civil Action No. 3:15-CV-493-N-BK
(N.D. Tex. filed Feb. 11 2015); Davis v. Ware, et al., Civil Action No. 3:15-CV-495-B-BK
(N.D. Tex. filed Feb. 11 2015); Davis v. Ware, Civil Action No. 3:15-CV-515-B (N.D. Tex.



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are duplicative of cases this Court has already dismissed. Furthermore, after the Court

entered the Show Cause Order, Davis continued to file documents in both open and closed

cases that can only be described as nonsensical. Not only do these documents purport to

make requests that are wholly without merit, Davis filed many of them unsealed in direct

defiance of this Court’s sealing orders.10 Additionally, Davis continues to file amended

complaints asserting previously dismissed claims without first seeking leave of the Court,

despite the Court previously striking similar attempts to amend for this very reason.11 In fact,

Davis recently filed an amended complaint in one of her many cases a full year after the

Court entered judgment in that case.12 Davis also recently took what amounts to a third

appeal in this case, Civil Action No. 3:14-CV-3975. However, like her other two appeals,

Davis’s third appeal is wholly without merit because she purports to appeal orders from other

cases.13 See Notice of Appeal, Jan. 27, 2015 [44].


filed Feb. 11 2015); Davis v. Ware, Civil Action No. 3:15-CV-524-P (N.D. Tex. filed Feb.
11 2015); and Davis v. Southern Methodist University, et al., Civil Action No. 3:15-CV-531-
K-BK (N.D. Tex. filed Feb. 11 2015).
       10
         E.g., Order, Nov. 10, 2014 [9], in Davis v. McKool Smith, et al., Civil Action No.
3:14-CV-3962 (N.D. Tex. filed Nov. 7, 2014); Order, Feb. 12, 2015 [56], in Davis v. McKool
Smith, et al., Civil Action No. 3:14-CV-3975 (N.D. Tex. filed Nov. 11, 2014).
       11
        E.g., Original Complaint, Feb. 16, 2015 [63], in Davis v. McKool Smith, et al., Civil
Action No. 3:14-CV-3975 (N.D. Tex. filed Nov. 11, 2014).
       12
        Original Complaint, Feb. 16, 2015 [47], in Davis v. McKool Smith, et al., Civil
Action No. 3:13-CV-4926 (N.D. Tex. filed Dec. 18, 2013).
       13
       In fact, many of Davis’s filings indicate that she herself is unaware of what
documents she has filed in her numerous cases. For example, her filings frequently contain
improper case captions and reference nonexistent consolidation orders.



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       The Court finds that the conduct set forth in its Show Cause Order is sanctionable.

Rule 11(b) provides:

            By presenting to the court a pleading, written motion, or other paper--
            whether by signing, filing, submitting, or later advocating it--an
            attorney or unrepresented party certifies that to the best of the person's
            knowledge, information, and belief, formed after an inquiry reasonable
            under the circumstances:

            (1) it is not being presented for any improper purpose, such as to harass,
            cause unnecessary delay, or needlessly increase the cost of litigation;

            (2) the claims, defenses, and other legal contentions are warranted by
            existing law or by a nonfrivolous argument for extending, modifying,
            or reversing existing law or for establishing new law[.]

FED. R. CIV. P 11(b). Davis’s filings clearly violate Rule 11. Davis repeatedly asserts claims

that have already been dismissed with prejudice. She has removed cases over which the

Court lacks jurisdiction. She has delayed dismissal of her claims by filing frivolous appeals.

She has filed post judgment motions in closed cases that lack any merit. This conduct lacks

any proper purpose and is designed solely to harass and embarrass Defendants and frustrate

resolution of her cases.14 Additionally, her conduct strains the limited resources of the Court

and its personnel.

       Sanctions imposed for Rule 11 violations should in general be “the least severe

sanction adequate to serve the purpose [of Rule 11].” Thomas v. Capital Sec. Servs., Inc.,



       14
        “The right of access to the courts is neither absolute nor unconditional and there is
no constitutional right of access to the courts to prosecute an action that is frivolous or
malicious.” Baum v. Blue Moon Ventures, LLC, 513 F.3d 181, 193 (5th Cir. 1998) (quoting
Sieverding v. Colorado Bar Ass’n, 469 F.3d 1340, 1343 (10th Cir. 2006)).



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836 F.2d 866, 878 (5th Cir. 1988). Davis’s filings demonstrate that nothing short of a

restriction on filing will serve to prevent future violations of Rule 11. The Court finds the

sanctions detailed in this Order balance Davis’s right of access to the courts, while

subsequently preventing her from attempting to prosecute any further causes of action that

are barred by res judicata, or from wasting the Court’s resources by filing irrelevant materials

in closed cases.

       The Fifth Circuit has approved the use of prefiling injunctions as a sanction. See

Baum v. Blue Moon Ventures, LLC, 513 F.3d 181, 187 (5th Cir. 2008) (“A district court has

jurisdiction to impose a pre-filing injunction to deter vexatious, abusive, and harassing

litigation.”); Clark v. Mortenson, 93 F. App’x 643, 654 (5th Cir. 2004) (“Federal courts have

the power to enjoin plaintiffs who abuse the court system and harass their opponents. This

includes enjoining future filings to protect its jurisdiction and control its docket.”). As

previously described, Davis’s conduct is vexatious, abusive, and harassing. Accordingly, the

Court is empowered to enjoin future filings. Such an injunction “must be tailored to protect

the courts and innocent parties, while preserving the legitimate rights of litigants.” Farguson

v. MBank Houston, N.A., 808 F.2d 358, 360 (5th Cir. 1986).

       Accordingly, the Court sanctions Davis as follows:

       1. Davis is prohibited from filing in or removing to the Northern District of Texas any

case based in whole or in part on events before the date of this Order and against any one or

more of the following parties: R. Brian Teal; Samuel Baxter; GECESC Associates; GECESP

Associates; BOC; Amy Abboud Ware; Leslie Ware; Stephen Jones; William C. Carmody;




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James S. Chanos; McKool Smith PC; Clint D. Carlson; J. Kyle Bass; Chad Bushaw; William

A. Ackman; Harlan R. Crow; Leon G. Cooperman; Jon Stevens; Carlos R. Cortez; Panoptis

IP LLC; the Ware Firm LLC; McKool Smith Henningnan PC; Southern Methodist

University; Southern Methodist University Dedman School of Law; John Attanasio; unless

represented by a licensed attorney other than herself, or with leave of court.

       2. Davis is prohibited from filing in or removing to the Northern District of Texas any

action arising from her employment at McKool Smith PC, including but not limited to claims

for sex discrimination; disability discrimination; racial discrimination; medical leave; wages

and overtime; wage discrimination; conspiracy; false imprisonment; quantum meruit and

unjust enrichment; assault and battery; wrongful termination; breach of contract; intentional

infliction of emotional distress; fraud and promissory estoppel; negligent hiring, supervision,

and retention; gross negligence; personal injury under 18 U.S.C. § 2255; conspiracy to

violate constitutional rights; sexual assault; aggravated sexual assault; federal assault and

sexual abuse; violation of 18 U.S.C § 247; and violation of 18 U.S.C. § 1592, unless

represented by a licensed attorney other than herself, or with leave of court.15 These

restrictions extend to any attempt by Davis to continue to litigate these claims in any

currently closed action in this District.

       3. Davis is prohibited from filing any documents in closed actions unless represented



       15
        The listed causes of action were those dismissed with prejudice by this Court in its
September 30, 2014 Order [14], in Davis v. McKool Smith, Civil Action No. 3:14-CV-0056-
N (N.D. Tex., filed Jan. 8, 2014).



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by a licensed attorney other than herself, or with leave of court.

        4. Leave pursuant to this Order must be obtained from either the undersigned or the

Chief Judge of the Northern District of Texas.

        The Clerk of Court is directed to reject any filings that Davis submits in violation of

this Sanctions Order.

        Additionally, pursuant to Local Rule 5.1(e), the Court revokes Davis’s electronic

filing privileges for all of her accounts. In her many sealed cases, Davis has filed unsealed

photos and documents. Not only has Davis filed these items unsealed in defiance of sealing

orders, she has filed them after-hours so as to prevent the Clerk of Court from immediately

sealing them. Davis has abused her electronic filing privileges, and the Court hereby revokes

them.

        Finally, as Davis is an attorney, her conduct also comes within the purview of 28

U.S.C. § 1927, under which “[a]ny attorney . . . who so multiplies the proceedings in any

case unreasonably and vexatiously may be required by the court to satisfy personally the

excess costs, expenses, and attorneys’ fees reasonably incurred because of such conduct.”

28 U.S.C. § 1927. Section 1927 “requires that there be evidence of bad faith, improper

motive, or reckless disregard of the duty owed to the court.” Edwards v. Gen. Motors Corp.,

153 F.3d 242, 246 (5th Cir. 1998). Although the Court does not impose sanctions under

section 1927 at this time, it finds that Davis’s conduct undeniably satisfies the requirements

of the section. Davis is warned that further abuse of the judicial system will result in

progressively harsh sanctions, including but not limited to a bar on all filings in this Court




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without first obtaining leave of the Court, see Phillips v. City of Dallas, 2015 WL 233336,

at *8 (N.D. Tex. 2015) (discussing a similar sanction), and monetary sanctions.



      Signed February 19, 2015.



                                                 _________________________________
                                                           David C. Godbey
                                                      United States District Judge




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